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1                                                             The Honorable Richard A. Jones
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7                        UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF WASHINGTON
8
                                     AT SEATTLE
9
       UNITED STATES OF AMERICA,                          NO. CR20-167 RAJ
10
                             Plaintiff
11                                                        ORDER GRANTING
                        v.                                UNITED STATES’
12
                                                          MOTION TO SEAL
13     GYEONG JEI LEE,
                             Defendant.
14
15
            Having considered the United States’ Motion to Seal Reply to Defendant’s
16
     Supplemental Response to the Government’s Motion for a Competency Examination and
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     Hearing, and the files and records herein, and having found there are compelling reasons
18
     for the United States’ reply to remain under seal,
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            IT IS ORDERED that the United States’ Motion to Seal (Dkt. #38) is GRANTED
20
     and its reply brief shall remain under seal.
21
            DATED this 20th day of October, 2020.
22
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24
                                                      A
                                                      The Honorable Richard A. Jones
25                                                    United States District Judge
26
27
28
      ORDER GRANTING UNITED STATES’ MOTION TO SEAL                     UNITED STATES ATTORNEY
                                                                      700 STEWART STREET, SUITE 5220
      United States v. Gyeong Jie Lee, CR20-167 RAJ - 1
                                                                        SEATTLE, WASHINGTON 98101
                                                                              (206) 553-7970
